([KLELWB
 IN THE HIGH COURT OF JUSTICE                Claim No. CL-2023~000054
 BUSINESS ,AND PROPES,'J;'Y COURTS OF .ENGLAND A'.ND WALES
·COMMERClA.L.C()URT (Im:0)

B'ETWEEN:

                               (1) TRAFIGUMPTE LTD
                           (2) TRAFIG(H;l.AINPIA PVT LTD                                      Claimants



                                   (1)-J?RATEEK GUPTA
                           (2) UII.. (SINGAPQJ,{E) PTE. LTD.
                                 (3) UIL MALAYSiA LTD.
                               (4) TMT METALS AG., ZUG
                              (5)·TMT METALS (UK) LTD
                             (6) SPRING.METAL LIMITED
                              (7) MINE CRAFT LIMITED
                       (8).NEW ALLOYS TRADING PTE.LTD.                                       Defen:dartts




                               PART~CULARS OF CLAIM




A     T-HEPAR:TIES'

1     Tne Fhst Claima.nt (rrafigura. i>te) is a Sirtgaporean totn'modity ttading company
      specialising ,1u the· oil and gas, tninet;t1s and .metals, :p0we1: and carbon ttading, and
      .rep.ewable ene.rgy- markets. lt11 }?fll'.ent CQ.tl)pany; 'rra~ra Group- Pte Ltd. (the
      Trafigura Group), is•also incorporatedlnSfo:~pore.

2'    111e. Secon.d Claimant (I'tafigura.·Jndia) ill the: India:µ t:l:a~g sµJ,sidi;tty of th~
      T~-afigura G.:1:oup·. Referenc.es. here:in tq. Traf~ura are to. Tr~figura Ilte and/ or
      Tra.6.gura India, as the context tequires.

3     The Fi.r:&t D~foo.dint (Mi: Gup~a) ~s believed to be--a D9,min.ican citizen, who is, also,
      or was previously; lJ.11 Tndia.n n;itlonal. He is o.:r was at all mll,tetfal ti.mes:

      3.1      the ultimate beneficial owner and/or 1;;on~oller of UD Txading Gto1,1p
               Holding Pte. Lfutlted (UD Gi:oup) (~ ~ing~.potean, ~ompany) aq_d. Ushdev
               Intern~tionai'.I.inuted (Ult),_.an Indian company (itis understood that liIL
               was r¢cently restructured pursuant to an insolvency pr9cess, ~efore\vhlch.it
               was'pwned a~ to a: minority iotei;est by UD G-ro1-1p);


                                                                                  ~-
    3;2      the 'irtd.irect controll#lg shareholde1: of the $ei;:ond. and Third Defendants
            -~nd ap..fadkect$h~teholder of the .Foµ.rth ~n4 fifth Defendants; and

    3.3      the de.facto orligAf controller (genetruly o.t: atleastwith respect to the matters
            J:hata.te the subject9( this c:;fai,m) 9f.the $ec<;md tq Eight!\ Defendants (the
             S~llers.),·

4   As to.the Second and Third Defendants (togethet, the UIL Entities):

    4.1      the Seco:nd DefeIJ.dant (JJJL Sjpgapot~) is trSingapotean c;:qtnp,any; wbic;\1
            w:a:s. at .all material times ·owned (iis to a thajbi:ity utterest) by UD G.t.oup and
             (as. to a minority interest) by UIL;_ and

    4,2     -th~ Thl,rd·D~fe:ndant (OIL Malaysi~) is a Malay$ian ~otnp.any; which is~ at
             was-atall materL-tl. times, wholly owned by UD Group.

$   As to the Fourth and. Fifth b.efendaQts:

    5.1     the Fourth Dcfendruit (TMT Metals AG) is a Swiss· company;

    5.2·     the _Fifth De'fendan:t (fM:T Metals UK) is a,p. English company; and

    5.3.     they:µ:e, o.twe.t:e·atallroaterial :times, .owned by Uvf;r.' Metals Holding!> Litn-
            1ted (l'MT Metals Holdings), an English company that is, oi: was at all
            inarerial tlrp,es, controlled.by lvfr Gupta,

6   The Sixth De fondant (Spring Metal) is a Malaysfan company1 i.vhich holds itself <:mt
    a.s a rrmlti-.c;omtno.dity trading cqmpao,y_,

7   ·The S-ev~nth Defendant (Ivfine Craft) is a. Hong Kong·tompany.

8   The Eighth Deten~ant (New.Alloys) is a, Singaporean c01np;iny, which holds itself
    out,as a wholesil.e metll traclmg,:;ompany.

B   THE·MASTER CONTRACTS

9   By a series· of-contfa.ct$ en,teted ihto betw1eeti October 2021 and August 2022' (as in
    some cases anJ,ended from time-to~tiirie),; T:t:afigµta agt:eed to pu:tcha'se. artd one of
    the Sellet~ agi;e~il to sell .qn CIF ~erm.s: a specified total .quantity of high~q uality _nickel
    ofa st:a.ted spedfi.cation (Nickel), to be shipped ifi instahnent~- as agreed° thereafte'r
    between the parties (the Master Contracts)'. The p~ties to ~nd priirdpal te11ns of


                                             -2-
      eac}?. }:vfaste.t Contract ru:~ set ou,t in Annex f he.i.:eto. Ti-afi~-a will rely upon each
      Master Con~act for its fi;ill tett:ns a114 tlue effect

10    The Master Contracts were principally negotiated. by !-.fr Git<;lhar R.athi (o, .Singapoi:e-
      hased ~>peratiop,s executive) op behalf 0£ the rclevant'.'Sellet, acting (it._1.s to be in~
      ferrec;l,fro,m the mittexs.set out herein), under theultitnate ditection.of:Mt Gupta.

11    During· the ne·gotiatfons fo.r,each Master·Cqntrm;:t~ and in orde.t to in~uce Ttai1bltlta
      to, ~nter 41tr;> it, t4e rel¢vai+t Seller.rep.resen_ted to Trafigura that-it inte~de,d honestly
      to perform. its obligation t<> supply Nickel under the.pru:titulat Master Contract.

12    Tlwse repte$ehtations (the M:;1ster Contract Represent,1tio:ns,) we.t;e made in pte~
      contract cpmmu1;licitions .ftorp: 0r o.o, behalf ofthe relevap.t S~llet and/or in dtaf~s
      of the relevai\t ·Mastet Contract ,and/or bi conduct! in.-circtunstances where the
      Sellers gave tlte itnpres$ioh _thar the relevant nego.tiitio.ns we.re commerc$1 negol:fa-
      tiqn~ being:conduct~d in good faith. futth.e.i: oraltei:natively, in ijght of the fact ~at
      the relevant·negoliatlons were, or· (as was intended by the televant Seller) appea±ed
      to bt\ co:tnmercial iiegotiatlop.s, they fall tq J:>e iinpliei;t

13    As the rclev:ant Seller knew and intended, in ente,clqg into each !;>f'cthe Master Con-
      ttacts; T,:afigura relied upo.n the tttuti1 of, and was induced by; the Master Contract
      Representations.

C     TUE.TRADES.AND THE CARGOES

·14   .As envisaged 'in each Master Cqntrai;t1. th_e patties thereafter negotiated -and agreed
      individual sales and putchases ·of consignments (descdbed by T.rafiguta as 'assign-
      ments'} of Nidcd (the Tt~de$) to be .eff~cted l?y separate shipm~.Qt$ of -an ag~f:ed
      quantity of Nickel (the Cargoes) h1 0,ne:.or m.ore shipping containers (the Contain-
      ers.).

15    11,tr Traf:ies were pcinc~pall}r negotiated, and· arra11ged by M..r- R,athi. on hehalf of the
      te)evant Si:Uer, a:ccing_ (itis to be .inferred t.tom the matters .set o:ut here.in) under the
      ultimate dlrettion ofMi' Gupta.

16    :$etweeo around 23 September 20:21 and 4 J:uly.2022, ;'J.tqqncl 86 Tr~dc::s were agreed
      and p~tfor!l'led (the Completed Ttades). As to ,the$e:

      l6;1     the bulk of the relevant' Cargoe$ were in l:tll:a re-putch,~ed from Trafigµt.a
               by tettain of the. Sellers (the Bu.yeti) pursµantto .t(:;-P,Utchase·contra<:ts· (the


                                                                                 ~
             Repurch~se (:ontracts), for· whi,ch Tra:figura. was. paid. in full (in' .cash
             and/or by"way bf set-offagalnst:sutris T±a6gufa undet$tood at that 'cifue, al?
             .a i:es.ult .qf the. Reptese:ntatlons (as. definec:J 'below), that .it. owed. to the.
             Selle.rii);

     16.2    a small o.titnber of Cargoes pu±chased from New Alloys and UlL Malaysia
             wetq; sold by'Ttafigura tq its pther clie1?,ts;

     1(.t3   the Sellers. (acting, it is• to be infetred~ uo.der the ultimate ditedioti of Ml:
             Gupta) and/or Mt Ratlu (~ctlng, it is tb be'infetre~ ori behalfof the r~kvant
             Seller and/or under the µlthnate dit.'.ectjon of.Mr Gupta) d.ir_ec_ted r,i.nd/or
             contr¢1led·w.hit:h of the Cargoes '\.vere avail.ab.le to be supplied to Ttafigura's
             other clients (as pleaded at paragraph 16.2 ab0ve), and which wete to be
             rc~old ba~k to the Buyer~ (a~:pl¢aded at pap:igraph 16J above); ~nd

     16.4    Ttafigura h1d. not .opened die televant Containers or in'spetted th.cit: con-
             tents priot to their being (1:e-)purchased~ .and paid foi:, as aforesaid.

t1   As of November 2022, when (as set out f~ther belpw) Trafigura discovered tb.a:t
     certain of the Gdntairters did noti.t1 fact contain Nickel:

     17.1    th.etc wei:e 100 fµrt.4~r Tra~es (the Re.ma~ ':J:'tade_s) for which Tra'figura
             ha9" pak!. tlw 1;elevant Seller (1,11. tm,h.and/.or by way of'set-off against sums.
             Trafigu:ta. understood at that time it owe.d to the relevant Sellet:), ht,it in re-
             spect 9f ·wl,,:ich the relevant Catgots:

             17.1.1 ,ve.te the sub_ject of -a R¢pw:chase- Cori.tract, for ,vhich the=relevant
                       $¢lier -had. not paid Trafigu.ra a:11 (or, in the vast.majority of l';a~t::s,
                       ·any} of the agreed re-purcl1ase price;· or

             17.1.2 wet<;! not the subjec;tof (beca~se they-had not beei1.allocated to) a
                       Rep~r¢hase Contract at all;

     17.2    thei:e:were 11 Trades· (the lP·Trades). mrespect of which:

             17;2.1 Trafigura had sold the r~evarit Cargoes to 1#,itd-party p1.1:i:chasers
                           (the Thitd Pattie.s);

             17 ;2.2 TrafigurQ: 'had· been-paid in full by the Third Parties;. and
     17 .3.   Trafigura had not p.rev:i.ously opened the televant Contafocrs or- inspected
              their contents (incluili4g; in relation to· the 3P T±ades:, prior to their being
              Qn-sold, a1,1d paid tqr, as. aforesaid).

18   Tli(f3P Trades were principally proposed and artanged by .!-.fr Rathfactln:g Qt.is to
     be info.ci:ed) on behalf of the tefovari.t Seller·and/oi: under the ultimate direction of
     MrG~pta.

19   Particulars: of the Remaining Trades and the 3P Trades (collectively; the Disputed
     Trades) are set out in Annexes 2 and 3 heteto :t<lspectively. The Cargoes shipped
     put~\1ant to the Disputed t.rad~s ~re refe.rred to herein as the Disputed Cargoes,.

20   In r.espect of each Disputed Trade,

     2CU      in ·order to induce Trafigµra to agree to pW!chase (i:tnd pay for) the -xelev:ant
              Cargo, the. televant Seller represented to Trafigura:

              20.1.1 <;luting· th_e neg~tlatipns that it ihtended to au:ange a sbipmerit of
                      Nfokel as envisaged by the relevant Ma_ster Contract; and/ or

              20.1.2 either by conduct (t>y negotiating a particular ~rrade) or hnpUedly (by
                      negotiatirtg a.nd agreeing fo a pattfcular.Trade) .thatit intended hon•
                       estly-t<J _perfotm its 9bllgatiqn to.,s:upply Nickel p,ms'4ant tq -the pat-
                       tlculat Trade and/ or u11det the Ma$tet Conttatt;:.an:d

     20:2     i,n order to in4uct::1'rafigura to. pay for the.Cargo, the..rcleyant Se.lier supplied
              to Trifigura (ot tilused or procured the supply to Trafigura of) bills oflad:..
              ing, commercial ,invoices Mid/ or insu.,;a.nce certificates, which it knew con-
              tained repre&entations thn:t a g~nuine consignment o( Nickel was to be
              and/or had b-cen •shipped: in the relevant Containers,_ a:s set out in Atulexes
              4 and 5. here~o.

21   As the relevant Seil.er knew Mld intended~ in agreeing to ·and/ot making payment in
     respect bf each of the Disputed Trades, 1'rafiguta- relied uf>'on the ttuth. of, and ,vas
     .induced l:iy, 1;.he representat;ions set ovt in t.:he preceding pamg:t'l.ph and/ or the Mas-
     ter Contt:a!'.,:t Reptese~1tati9n.s- (-i.vJuch, togethert ate referred to her~. ~s- ~e Repre-
     sentations).

22   Fv.rther, t4e. pµtatlve :auyers of the Cargoes t~fetre4 to 1,it-paragtaph 17;1,1 above_
     knew that the relevant .Seller had made the Representations in: relation to. the re-
                                             -5-
                                                                                         ~
      purchased Ca:t:g0es;
      .            .       and, as the Buye.ts knew :and irttehded, in agreeing to die rec.·
      pur¢ha!:)es, Trafigi;u:a relied upo:t;i the tt,1,1th qf, and was.·induced by, the Rep:t:esenta-
      tions.

D     THE EMERGENCE'OF TH.E ALLEGED FRAUD

23    From· 'N.mrember 2022; T.tafigw:a received corte'sponden<ie from i:lie Third Patties
      asserting issues with and/ or daims ,4i- r~spect of certain of the Cargoes scild to them
      a11d/ oi th<;>; ass_ociated bills of ladip,g. Amongst other things, the Third Patties sti~.ted
      _that the.said Cargoes ~d not meet j:he d¢1;criptlon or spedfic;ltion!:) stated ih the
      relevant contiatts or bills oflading.

;a4   1{t G:upta ·iD;dicated to Traflgura that he would adcb:esi, the. issues and/ o,r <;laitns
      raised by theThu:d Parties directly vii.th the latter.

25    On 9 Novembe1' 2022, Trafigura inspected c;::ertain of fhe Co11tainers shipped by
      TMT'Metals Ul:(, which had by the/l been re-purcha~ed by UIL Malaysia. Tbis (the.
      November Inspection) revealed that the televant Contairiets actually conqiined
      what app~a,red -to be carbon (:\t<:;el, -wh.iJ.-:b. was, worth a small fraction .of the value of
      Nickel.

26    On or around- io.Novetiilier·2022~ :tvir Gupta informedT.rafig,;u:a thatl1,e·expected
      s.btne of the Cargoes putchased frotn Uv.l'T Metals UK 'to c_opsls.t- of high-gtade
      nickel alloy (tather tlrap. Nickel); and that he would .need to verify the results otthe
      November Ins.pection i.vith: hi:s. 'aggregators' '(which was, it is t6 he inferred, a tefer-
      ~ce to~<:'! Selkrs).

27·       On or ru:oi.md 1.5 November 2022, Mr Gupta repeated toTrafigu:ra that. certain of
      tlie Gargqes putchase.d· frop.1. the -SelJ,ers would cqnsist of nick~l alloy (rath~: tha1;1
      1'•Ji~k~J).

28    ln of ar6ttrid- lale N oveniber or early December 2022 1 1v1r Gupta caused or procured
      the picwision to Tra.fi.guta. of a spteaµsheet entit;led "G{l.rgo /ek1ilr- Traf' (the Mate:-
          rials Spteac;:lsheet), ·This indicated that~ of the Catgoes shipped pµrs:uaut to 93 of
          the Remaining Trades: .three wete o.f aiU1tliniu1ri;.15 were of carbon steel; .and 7.5.
      wer~ of nickel alloys (of unspecified cqtripositlon).
29    On :22 Deceh?ber 2022~ Ttafigura inspecte.d eight Containers shipped by Spring
      Metil. This. (the Dedenibet Inspectfon) also revealed that tb,e· relevant Containe.i:s·
      actually contained what appe~ed.to b~. carbon ~teel.

30    Since then, Trafigura has inspected. 197 more of the ·Containers. None of thetn•has
      been found to contain Nickel (as opposed to worthless or much. less valuable (9:t
                                              ...
      unidentified) mi:i.terials). The re~ul.t\i are set out in A,nnex 6.·hereto.

31    From Nqvemb!:t 2022 until early February 2023, 1'.ft Gupta·put fo1wa.cd a number
      of proposals to cotnpensate Trafigura for the Sellers' w.rongful failure. to supply
      Nkkel to 1'.tafigtu-a. The only payment .that. has been made to·T.rafiguta. by .aµy of
      the Defendants, ht>wevcr, is US$5 ;milli~n received fi:pm TMT Metals UK on, or
      a.round, 31 Jariuai.7 2023 (the TMT Metals UK Payment).

32    Furtq.er, it now appears· that.tl1t:te .ate potentiallyis~ues· iu:telatioµ to at le{!.r,t• ej~ht
      of the· bilis· qf liiding1 provided' by UIL Malaysl.a to. (and still held by) Traf:igura pur:..
      su~nt to tettain of the Disp.µt~d lrades, Amongstother things;. vatlous third p;i.tdes
      allege (o;t have ;tlleged) that they also p.old pills of ladi:p.~ in stespect of the same
      Cargoes. Ttafigura is inves.tigatitig the position and1 for the moment,. reserves all of
      its tights.

E     TRAFIGUM.'S Ci:4-tMS·

Et    Rescission for Fi::audu.leµt Misrepre.s~n~ation

.33   In the premises:

      33.1     itis to be:.inforreq that:

               33.1.1 at most only a minority of the Cargpes shipped'pui:suant to the Mas-
                        te.t Contracts. (and nqne, ~lteroati'l(~ly qnly·a min.ority·, oft;b.(: ~a,,;g~s~s
                        shipped pur$1lf{tit to the Disputed Trades)~ actually consisted of·
                       Nicke4 but instcad.t:dnsisted of othet m:uch li!ss vaiuablc:o.i: worth-
                        less.materials, and

               33.1.2 the Sdle.t;s never :intended tl1at each !¢cl every Cargo to be·,shippe.d
                        pursuant to the Mastel: Contracts ~n:d/ or ill (o.i: any) shipped



      ~eadng die nuri1b~i;~; OOLU27Qq2S~;220,. OOLU27:042655.40,, .BLPLJ?GU/2200200,
      eL:PLPGU:4200214, ~LPLPOt,n;206222,  ryI;AEUZ18437143,  :MAEQ2217~5093    and
      ~uill1J21s910101.
                 pm:suant to the Dispµted Trade~ :woµld consist Qf Nickel (and at all
                  times they and the Buyers knew that they .did. not);

33.2    each of. the Representations WM. therefore false wheri. mad~ (~nd remained
        fa,lse at .all tii;nes. thereafter); and.

33.3    ·each of the Reptesent.atlohs was rmtde frauduien:tly, in that the Sellers (and
        the Buyers) knew that they wete· fal.~e o:nvere :teddess as to whether they
        were ~e or false;_

                    PARTICULARS OF FALSITY ANb FRAtJD

33.4    Ids tq be infetted from the facts and matter~ set o:ut iboye; bicl\Jd.i.ngthe
        fact that the bulk of the Containers .shipped pw;suant to the Master Con-
        tracts and/ or the Disputed Trades ·appear not td have ·coritaihcd Nickel,
        that:

        33.4.1 die.Sellers deliberately did not suppiy NickeUn accordance-Wlth the
                 tert;os -of the _Master _Contracts and/ or the Disputed. Trades;

        53.4.2 the $-dlers knew at tlic time the M~s(e_r Con~acts were neg;otiated
                  and agreed that they did not intei1d ho.nesBy to pe:rfotni their obli-
                  ga tl9ns t9 .supply Nickd;

        33A.3 the $ellets kne:w at th.e time the Disputed Trade~ were negotiated
                  and agreed that they did not intend:

                 .33.4.3.1.      to arrange 'for the supplyof:t,.Jickehis envisaged by'the
                                 relevant Master Contfact; :and/ or

                  33;4,3.2.      hon,estly to perform their obligations to ·supp~y Nicke~
                                 and/or

        33-.4.4 at or ari:mnd'tl1!;l thu,e p~y:tnertt was requested. and/ob:ecei.ved by the
                  S1;:llers. it;t re_latiqn. to e;:tch Disputed Ti;ade; the Sellet!i lw.e\11 they l:i.ad
                  not supplied (Cit were·notintending to supply) Nkk~l.

_33.5   lt is .ft.Jrth~r- to, be.-inferred fllat the putative Buyers of the Cargoes· refe.rred
        to at patagraph 17.1.1 abovt:; knew tha_t the Representations were false when
        tnade because: •
               5_3.5.1 of Mr Gupta'_s common ownership. and/ or con:tro! of the Buyers
                       and. Sellers; .and

               3:;.s,i the Buyets also acted as Sellers und_er the Mas~er Contracts and
                       therefore also (kµowingly) made th,e Mastet Cont;tact Repi:esentary
                       tions.

      Trafigura v;zas. ili~efore ~nti.tled to, and by service o:f _the claim :form and/ o_r the
      skeleton !,lrgmrtent for the without notice worldwide freezing; order applicaci..on ·it·
      made in thesctproceedings on 8 Februaty 2023 herein did, rescind the Mastet Con-
      tracts (in their _entirety; alternatively, to the extent of the Dhputed Trades) and/qr
      the Disputed Tra_des themselves (and, if and· tp the extent n.eccssi!'.)'i the R-epw:chase
      Contracts)~ and. seeks a dedatatibn to that•effect.

34    Altematlvdy) Trafigura is _entitled to .an order rescinding. the Ma$ter Contracts (in
      their- eo.tlrety; altematlvely, to the. extent of the Disputed Tra,des) ao:d/ or the Dis,.
      pu:ted Trades themselves {and,_ifand to tl,-ie extent necessaty, the Repurchase Con,.
      ttacts) in equity.

35.   Tui dtb:et·case, Trafigufa is entitled to .a:dva11ce (and hereby advances) an eqtiitable
      propriernry· claim: in respect of all moneys paid and credits given to the Sdle:i:s 1n
      respect of the Disp~ted Tra,dcs (\1-nd the fruits 9t b:aceable prqceeds of the said
      moneys or credits).

E2·   ').'rus,ts

36    AJtematlvely1by .reason of the· matfets set out above; the lvfastet Contracts and/ oi:
      the Dispu\ed '.f.1;acles were vehicles fo~ obtaiwt1.g moneys from Trafigura fraudu-
      lently and. under false pretences·imd/or were (and/ or were effected by) instruments
      of fraud. Accotµingly, ben_eficial title in th~ tncineys paid (or in the value bf arty
      c_redit given) by Trafigui:a in .respect of ·the Dfoputed Trades did I:J.Ot pass fro.m
      T.tan~ to the Sdler.'l, who thete(oi:e hold_ (or held) th_e same ~.P.. tonstt.-uc.tive ttust
      for Trafigur~.

~7    Furth!!!, or alternatj,.vely, the Seller~ hol9 °0:r pdd th.e moneys paid (or the .value.of
      any credit given) by T±afigll):a in respect of the D_isputetl T'r~des Qh GOnstt:uctive
      (and/ or resulting) tmst for Trafigut'a bec~use:
       37.1     Trafigt~a p~id ot gave the satne in the _ihisfi:lkeh belief (induced py the
                Sell~ts) t:hat· the Di.sputed C~goes ·consisted of Nickel;

       37.2     the Sellers ptocuted the same· th:fotjgh the fraud particulru:l.s'ed herei°',
                and/or

       37.3     t\.lere was a total .failure of ba~is in thl\t the. Sellers (kno,vtngly,) failed to per:.,
                form· theit coiltracuml. obligation td supply Nickel, such that the bbli~cion
                on T:cafigura to pay never arpse.

38     In. the pr~niises~ Trafigura fa.entitled.to advance (and h.ereqy·advances) a proprieta.rr
       claim in respect of all.moneys paid (and. credits.giveh) to the Sellers ih .i:espect of the.
       Disp:ttted Tr~des (and the fruits or.tt:aceable.ptoceeds of th~ s_aid.money$ q.r cteclits).

E.3    Damages for Deceit

39     Fup:her pr alterq,atively; as a result 9f the fotGgoingi

       39 .1    Trafigura hanuffered lo'ss and damage in that:

                09.1:t it paid· the agreed r>rice for·the Disp1,1te¢l Cargo·e~, which did not:
                          consist ofNickcl but were.instead of little. or no value to Trifigura;
                          arid

                39.1.2 itis e~posed to c;lamis b)'.' a:nd/o:t liability to the Third Parries in re~
                          spect of the 3P Trades;_ and

       39.. 2   the Seli~rs ate therefore liable tq Tra.figura for damages in. dec~t in respec;t
                of the same,

4(i,   Furtp.er, io. tlie c:it:curn,:;;tances \,Ct O\lt above,. ,vhi~h .incluqe:

         PARTICULARS OF· MR GUPTA'S.KNOWLEDGE AND DIRECTION 1Jtc.

       40'1     Mt Gupta's awrie,;ship ·and/ qr <::qntt:91 of the Sellers;

       40.2     th~tl\ifr Gupta, dealtwith.Trafigura:011 th.~ b:u~is that he had.ove1-all resp.on-
                sibility for the dealings referred to herein;

       40.3     the provision by M.t Gu.pta of (he 'l\f~terials Spreq.dsh~ee to, 1Jafizyi~ U\ the
                .drcurristances pleaded at J1atagtaph 28 above;


                                                  -10-                                                       (:w
     40.4     the· settlement proposals made.:b.y Mt Gupta on hehaif·of the.Sellers;,_ and

     40.5     the.. einployh1ent .by e~ch of the S~c,rs of -anidentical mod11r Qpqrandii.n cf~
              fectiµ.g theailegedfrau4 (:is plead¢d above),

     it is to be inferred th-at .h-1t Gupta induced, qkect(;)d arid/ or othet\'Q'ise caused or
     procured the Sellers t9 C0/.1lll¥tthe _deceits i-;et. out abov.G. He is cqnsequently pe,i:-
     sqnally lfabie to Ttafigm:;i. as a joint tortfeaspr for darnages in :deceit,

E4   Procuring breaches of contract

41   Furthei: o.r alternatively, lvlr Gupta induced .the Sellers to breach the M~ste.t Con-
     tracts and/ ot the tettns of the Disputed. Trades (as set out-111: :patagtaph 46 below)·
     by epcqQ.taging, causing! procuring o.i: ot;b.CJ.-wis.e assi$ting·thetn (db:ectly ot: it1di~•
     rectly) .111 thqse b,1:eaches. Parawarh 40 above is repeated tJ/r(Mti..r nt1tlt1Nd/t. In sb ac:t-
     fog~. it is -inferred that Mt Gupta kne\v and .iriterided that the Selle.ts weiuld act to
     breac;h them., all.cl .Mt: Gupta is .ic:~ordingly liable in tort for the loss_ and dan:uige
     theteby caused; as set out herein.

E5   Unlawful me~li~ conspiracy

42   ·Futther or alternatively, oo a date or dates uoltnown to Traflgura,_ the Defendants
     (or any-two ·o.r more .of them) together wrongfully co11Sptted and combined together
     to'111jure Trafigqra by-u.nlawfulmeap.s. As tq this:_

                               PARTICULARS OF.CONSPIRACY

     42.1     the e:xisteilce• o'f the consr,ira<-1'. and/9r combigation f~s- tb· be inferred from
              the facts aha mattets pleaded above, in.eluding in particular:

             42.1.1 •Mr Gupta\ ownei:ship and/ o:t conttol of the Selle.ts;

              42.1 ..2' the Sellers' common representat:ioh by Mr Rathi;

              42.1.3 the pr9vision of th!} M~te1ials ~preadsheet ~ th';\ citcums~rices
                       ple:aded at paragr-aph i$ aha.ye;

              42.1 A .the-settletrtent propbsals made by 1\-fr Gupta on behalf of the Seliei:s_;
                       ~d/o:t

             42.i .5 the. ·employment .by each of the· Sellets of an identical i11od11s rrperai1ffi-
                       in effecting the alleged friud (a,s pleaded itbove);
                                             -11-                                                        ~
      42.2    the tin.hlwful m.eans consisted of:

                            pAlt:trc:utARS: ·oF UNLAWFUL MEAN$'.

               42.2'1 the deceit (as pleaded above);

              42.i,2 the ptoetitementofbreaches of t(mttac;t (as pleaded above);

               42.2.3. the ernploymerit of insb:ument!i offraud (as pleaded· above) 1

               42.2.4 the Ul').JUS.t entlcbment (ple.aded be)qw); and/or

              4z;2,5 (on Trafigura's alternative cas"e) the btea<:hes ofconttact (as pleaded
                        below).

·43   As a result of the ,n11tters set out abbve, Trafigura has_.suffe,ted th<doss and damage
      set· out aboy·e,. for which each of the· Defendants .is joifitly and severally liable to
      cotnpet)sate Ttafigma in damages for. conspintcy.

E6·   Unjust enrichment

44    Fµ:1:the:1; or altett1$tlyely~ the Sellers, haye:·been unjustly. entkhec;l at Tr.a:l:igura''s ex-
      pens~ because:

      44.J     there has been·a total f~hu:e qfbasis; and/ o·t

      44.2    i'i:atigu.ta p~d fol! the Disputed Cargoes in the. .mistaken belief that they
              consisted of Nickel (and would not have done so had it kno,vn. l:he truth).

45    Acc;on;lingly, T:ra:figw:a is entitled to (and hereby claim~) a personal rcstltutlonaty
      award from the Sell~rs in the- atnount of the value of' their unjust enrichment, vi!f:
      the p.rice Ti-afigq.ra paid. (in cash and/or by way of set-9ft)J!;!ss the value to Tra.figuta
      (if any) of the Disputed Cargoes.

·E7   Bteach. of coiltt•act

46.   Altei;:nutively; jJ and to. tlte·.extent that the Master Corttta:cts ;ind/ or the Dfaputcd
      T:tadcs have not been o.t carinot' be rescinded:

      46,1     the Selle~ breached. t.he exl?ress terms .of tlie Master Co,nq:acts and./ o.t the
               Dlsputed Trades in that.theyfa:iled to supply Nickel.thereunder; and

      46.;l    a~ a resuli: of ilio$e breaches>. Trafigur!t has suffered loss and damage, being:

                                              -12 -
                 46.2.1 tll.e price paid (or creditgive,n) by 'r-rafigw:a to the· $ellets (a.s. partic~
                         •ulatised in Anne;x:e1;1 2 and 3 hereto),. less the valu~ to Trafigura (if.
                            any) of 'tl1e material actually sUcppliM by the Sellers; and

                 46:-2.2 the amount o{ tlie d~s by and/o.r any liability .tothe Thlrd Parties
                            in r~latioii to the 3P Claims.

ES      Interest

47      Further, Trafigura is.entlt:led to (and daims) (a) compound (alternatively, sitnplc)
        interest pursuant to the. Comes ·eqmtable jurisdiction; and/o.t (b) interest purs1;1ant
        to s<;:ttio1i 3'5A of the Seniqr Coutts..A.ct 1981, on all stitnfl foun:d dµe t<;> t.rafigllta,
        at s,uc::h .rates., and. for .such petloµs (andt where appropriate,:. with such te·sts) as the
        Corut thinks-fit.

AND Ti:afiguta· cli)ims::

(1) declarat.ioris tha.tit has validly tGscinded the Master Contracts (h'l their entit~ty; altet-
    natively, to the extent of the Disputed Trades) and/or the,Disputed Trades at1d/or the
    Repw:¢hase Contract1, (in their ent:itety; ahernii.tively, to the e.xtent -of the Di~puted.
    Trades);                                                                              •

(2) {llternatiyely> orders for resci~sion of the .same (to the· same exte~t) (alternat:i.v.ely; datn-
    age·s in.lieu ·of resdssio11);

(3). declarations that Trafigw:a is. entitled to trace into. the payments rilade (o:t credits given)
     in reipei;t of the Disput~d Ttades (a,nd. the J11.cits or tra.ceable pi:oceeds qftli~ said
     morteys or credits).;

(4) decla:,tatlons that the Scll~rs hold th~ su.ms pa.id (or credits given) 'by ·1'.rafigura in.respect
    of the Disputed, Trade~ (and the fruits or 6:ai:-eable proceeds .of the same) on .ttu~t. for
    Trafigura;

(5) such orders or orher refa,f as is appropriate to ,giv~ effect to {l}-(4) above, including
    (without limitation) ordirs· for the. pa.ytn.ent to Trafigura of.all sums paid in .respect of
    the D1spu.ted Cargoe$;

.(6) an ind~mnity against ~ny cWms made 1:>y and/or any llii.bilin, jt may havc.stQ' the-'Thi.td
     Parties;                                                     •

(1) damages.and/or equitable compensatio,n;

(8) further or other relief, includihgall futthet n¢cessru:y or approptlat~ ll.ccounts~ inquiries,
    and directions;. arid/or

(9) m,t~r~st as.aforesaid.




                                                -13 -
                                                                              NATHAN PILLOW KC

                                                                                        DAVID'PETERS

                                                                                       FE~IX WARDLE
Served this day 3rd May 2023 on ·behalf pf th~ CWtriants by Stephenson Harwood LLP, 1
rinsbu,ty Circus, J_,;ondon, EC'.21\,t 7$F-I.



STATEMENT OF rrRUTH
•'fhe Claimants bclieve. the fac(s $tated in these Particµlai:s 6f Claim ate. true. The Claimants
 un'de:cstand that pr0ce¢ding~ for. contempt of court may be b.to1,1gµt against anyone who
 makes, ot .~auses to be made, /l fal$<':! statement.ili a documeri:t .vei-i.fied by :a: !:>tate:tn.ent of
 trutlnvithoutao honest belief in its tl:µth.                                      •

1 arn duly authori~ed to sign this s ~ n t of truth on behalf of the .Claiirutnts.

Signed:       }-.--(~~
:N'atne:       N A<E~ ~       A\.-\ K   ~u
Position held:       G-\;:Q:~.   \,~1i,.f.)   ~ ~ <S:--)L.,;;;; '(,._M \..... &..,3 \~. , ~   ts,)~   G-\

Date:                \a-~\ 'l..:s..
               (;, 1:.
